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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       No. 1:21-cr-00186-CRC
                                             :
DAVID A. BLAIR,                              :
                                             :
                              Defendant.     :

   GOVERNMENT’S NOTICE REGARDING NEED FOR EVIDENTIARY HEARING ON
             DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

       The United States of America, by and through the United States Attorney for the District

of Columbia, hereby provides notice to the Court, as directed by the Court’s Order issued on

March 22, 2022, as to whether an evidentiary hearing is needed on the defendant’s motion to

suppress evidence (ECF doc. # 41).

       The government submits that an evidentiary hearing is needed, provided the defendant

does not plead guilty at the plea-agreement hearing scheduled for March 29, 2022. An

evidentiary hearing is necessary to address disputed issues of fact with respect to whether the

police had probable cause to arrest the defendant and if so, whether the search of a backpack,

which resulted in the recovery of a knife, was authorized as a warrantless search incident to

arrest. However, for the reasons set forth in the government’s memorandum in opposition to the

motion (ECF doc. # 44), the evidentiary hearing need not address whether the closure of the

West Lawn of the Capitol, where the defendant was arrested, was lawful under the First

Amendment; whether law enforcement members failed to comply with a general order of the

Metropolitan Police Department; or whether the members failed to comply with the First

Amendment Assemblies Act of 2004, D.C. Code §§ 5-331.01 - 5-331.17.
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           UNITED STATES ATTORNEY

                     by:   /s/Michael C. Liebman
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